Matt Friez <mattfriez@hotmail.com>                                                    Thu. Jan 27,2022 at 10:19 AM
To: Jared Lee <Jlee@mldlandchrtstlarisdiool.org>

  Hello Jared - it has come to my attention that there has been a possible sexual assault involving the
 baseball team.           discussed things with my wife but doesn't want to be a snitch, it happened to a
 9th grader and involved sexual assault with a baseball bat.    ______ >     ___


 Given the history of the baseball team players, I am gravely concerned with the culture of the program. We
 love Coach Russell but I am VERY CONCERNED with the assistant coaches.

 I emailed Coach Russell also about this.


 I hope that this is criminally investigated and since it has come to our attention, we are going to make sure
 that police get involved If not already.                                .

 Thanks, Matt Friez




                                                   Exhibit 6-001
Jared Lee <jlee@midlandchristianschool.org>                                               Thu, Jan 27.2022 at 10:27 AM
To: Dana Ellis <dellis@midlandchristianschool.org>, Matt Counts <mcounts@midlandchristianschool.org >, Greg McClendon
<gmcclendon@midlandchristianschool.org>

 FYI.„see the email below from Matt Friez and my response.

 In Him,
 Jared

 ---------- Forwarded message----------
 From: Jared Lee <jlee@midlandchristianschool.org>
 Date: Thu, Jan 27,2022 at 10:27 AM
 Subject: Re: baseball incident
 To: Matt Friez <mattfriez@hotmail.com>


 Good morning, Matt,
 Thank you for reaching out to me. I want to assure you that we are aware of it and handled it appropriately. We, too, love
 Coach Russell and believe he can and will take our program to the next level. As far as your concern regarding the
 assistant coaches, please make those concerns known to Coach Russell, if you have not already, and if you still have
 concerns after talking to Coach Russell, per our policy, I ask that you meet with Coach McClendon. You have every right
 to contact the authorities but I do want to assure you that, based upon what we understand happened, we do not believe
 it requires a criminal investigation. Again, you are welcome to pursue that path but we are confident that we have
 handled this situation appropriately. May God bless you and I pray you have a wonderful Thursday!

 In Him,
 Jared Lee, Superintendent
 Midland Christian School




                                                 Exhibit 6-002
Matt Friez <mattfriez@hdtmail.cdm>                                                     Thu, Jan 27,2022 at 10:31 AM
To: Jared Lee <jlee@midlandchristianschool.prg>

 I am going to ask m but if it Is a sexual assault, I will definitely be contacting authorities If they have hot
 been contacted. This Is unacceptable If a baseball bat was used to penetrate the anus of a 9th grader which
 is what.l have heard.                                                                            '

 We also expect that parents be notified when things of this nature are going on.

 Having an assistant coach, who is a bookie in town, up there after his son is expelled for sexual assault is
 very poor judgement in my opinion and it is ultimately your responslbilty I believe.

 Thanks, MattFriez




                                                  Exhibit 6-003
Barry Russel! <baissell@mcs1.org>                                                        Thu, Jan 27,2022 at 10:39 AM
To: Matt Friez <mattfriez@hotmail.com>
Cc: ellis Dana <dellis@midlandchristianschool.org>

 Hello.
 I was out last week w COVID when the incident happened and was told about it on Monday. The problem has been dealt
 with and we will not have that problem anymore.
 We have "discussed” this already with team and they know the consequences of anymore issues.
 Coach Russell




                                                Exhibit 6-004
Matt Friez <mattfriez@hotmail.com>                                                     Thu, Jan 27, 2022 at 10:51 AM
To: Barry Russell <brussell@mcs1 ,org>
Cc: ellis Dana <dellis@midlandchristianschool.org>

 Thank you coach for your response --

 I am also very concerned about your assistant coaches also and would like to discuss.

 I also believe the police need to be notified, a full criminal investigation performed, and that it could
 possibly be neglect of a child to not notify the authorities. I also could potentially lose my medical license if
 I do not investigate it further since it has come to my attention. I am going to'do my best to find out what
 happened and will likely be required to report since I have become aware of cause.

 TbanJcs, Matt-Fncz




                                                Exhibit 6-005
Matt Counts <mcounts@rnidlandchristianschool.org>                                     Thu, Jan 27,2022 at 10:54 AM
To: Jared Lee <jlee@midlandchristianschool.org>
Cc: Dana Ellis <dellis@midlandchristianschool.org>, Greg McClendon <gmcclendon@midlandchristianschool.org>

 Thanks Jared,
 Along with punishment from Coach Russell,        ill be serving ISS tomorrow.




                                             Exhibit 6-006
Matt' Friez <mattfriez@hotmail.com>                                                  Thu, Jan 27,2022 at 11:27 AM
To: Barry Russell <brussell@mcs1.ory>, Jared Lee <jlee@midlandchristianschool.org>
Cc: ellis Dana <dellls@vnldlanddwistianschool.org> .                                 •

 With all due respect, you all are not tralhed in determining the facts (nor am I). |H was directly told by
 the potential’student victim, a child, that the student had his anus penetrated with a baseball bat. The
 authorities who are trained in sexual assault, need to be allowed to determine the facts, investigate the
 case and should be notified ASAP. In my profession we are required to do this and WILL lose dur license if
 we do not. This could be interpreted as neglect of a child and failure to report if not done so.

 Thanks, Matt Friez




                                                Exhibit 6-007
Jared Lee'<jlee@mldlandchristiarischool.org>                                                    Thu, Jan 27,2022 at 11:42 AM
To:Matt Friez <mattfriez@hotrnail.com>

  Matt,
  In our thorough Investigation, we have found no evidence of a bat penetrating the child’s anus. I can assure you that if we
  had found any evidence of that happening, the authorities would have been notified Immediately. I am sorry that you feel
 that you should have been notified. In these situations, we evaluate who needs to be notified and I assure you that we
 have notified the appropriate parents In this matter. I will certainly take your suggestion into consideration for future
 incidents. As for the assistant coach, l am unaware of him being a bookie but will definitely investigate your claim. As I
 have done In the past, I ask that you trust me and my team in allof these decisions as we truly do have the best interest
 of every student in mind and ultimately expect every program to strive for excellence and to glorify God. Again, thank you
 for reaching out to me and I prayyo'u have a blessed day.

 InHim,
 Jared Lee, Superintendent




                                             Exhibit 6-008
Matt Friez <mattfriez@hotrnail.com>                                                      Thu, Jan 27,2022 at 11:46 AM
To: Jared Lee <jlee@midlandchristianschool.org >

 My own son told my wife that the student came out crying and reported that he was crying because older
 baseball players stuck a baseball bat far up his anus. This MUST be investigated by the police. You all are
 not trained to forensically investigate this and also have great conflicts of interest in doing so.


 Thanks, Matt Friez




                                                   Exhibit 6-009
Matt Friez <mattfriez@hotmail.com>                                       t             Thu, Jan 27,2022 at 11:50 AM
To: Jared Lee <Jlee@midlandchristianschool.org>

 In sexual assault cases, the victim or potential victim needs to be able to discuss it with trained officers who
 can determine the facts. School administrators and coaches, and even parents, for a variety of reasons, are
 not in a position to be this person.

 Physicians are not either. This has to be reported. I cannot believe that it has not been.


 Thanks, Matt Friez




                                                  Exhibit 6-010
Jared lee <jlee@mldlandchristianschool.otg>                                                     Thu, Jan 27,2022 at 11:54 AM
To: Matt Friez <mattfriez@hotmail.com>
Cc: Barry Russell <brussell@mcs1 .prg>, ellis Dana <dellis@midlandchristianschool.org>

  Matt,
 I want to assure you that as educators we are trained in the determination of whether or hot authorities should be called
 and in our investigation we have found that at no time did a bat penetrate the anus of another student This is our
 profession, our livelihood and our ministry -1 can assure you that if we believed a report was required, based upon our
 investigation, we would have done so. You are welcome to make a report based upon your son's perception and
 information he gave to you, but I can tell you that after many interviews with the players involved, there has been no
 evidence of a sexual assualt. Again, I ask that you trust us, as professionals, to conduct the business of the school In a
 way that is in the best interest of      and all the other children we are blessed to work with.

 In Him,

 Midland Christian School




                                                  Exhibit 6-011
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Matt Friez <mattfriez@hotmall.com>         ’                                         Thu, Jan 27,2022 at 12:51 PM




                                                                                                                    i  1
To: Jared Lee <jlee@mldlandchristianschool.org>


 do you .have school policy available for us as parents to review concerning the reporting of sexual assaults
 ofchildren?               •


        claimed that he was directly told by the student that his anus was penetrated far up with a bat. Is
 that not enough to notify the police?

 Thanks, Matt Friez




                                                  Exhibit 6-012
Jared Lee <Jlee@midlandchristianschaol.org>                                                         Thu. Jan 27.2022 at 1:54 PM
To: Matt Friez <mattfriez@hotmail.com>

 Matt,
 No sir, we do not make our employee pollae^ublically available. As I have said, we followed our policy, which is in line
 with Texas law, regarding this incident     account of what happened, when he did not witness it is considered
 hearsay and is not backed up by the evioencewe collected during the course of our investigation.

 Matt, with all due respect, this will be my last email to ybu regarding this situation and again ask that you trust us, our
 practice and policies when it comes to the wellbeing of our students.

 In Him, "
 Jared Lee, Superintendent
 Midfand C<hristian '^School




                                                  Exhibit 6-013
Matt Friez <mattfriez@hotmafl.com>                                     _              Thu, Jan 27; 2022 at 2:07 PM
To: Jared Lee <Jlee@mldlaridchristiansch0ol.org>

  I respect your training as educators and administrators. I am also trained in forensics including forensic
  psychiatry and the forensics of sexual abuse and sexual crimes. I am also bound by duty to my profession
 and the state to have to report certain things. I do not want to know and will not ask who potentially did
 the crime but I believe that there may have been a crime. I am going to discuss it with my son, who seemed
 somewhat fearful himself to my wife when he told it, and if I find him to be credible will be forced to notify
 the police. This would be the same if myson were the accused or the victim.

 I am very aware as I am sure you are that there are many reasons that things can be over-exaggerated in
 this area and also many reasons that things can get understated or later denied for fear, shame, guilt,
 embarassment, etc. I believe thatthe police are best equipped and trained, with the least conflicts of
 interest, are the best to sort that out in investigating and determining the facts.

 THank you for your correspondence

Thanks, Matt Friez




                                                   Exhibit 6-014
Matt Friez <mattfriez@hotmail.corn>                                                   Thu, Jan 27,2022 at 3:15 PM
To: Jared Lee <jlee@midlandchristiahschool.org>

 I was discussing this with my partners and they brought up another point - you ail are assuming enormous
 liability by investigating it yourselves and not reporting it They all agreed that I must report it if my son
 claims this is what happened.                *

 Thanks, Matt Friez




                                                  Exhibit 6-015
Matt Friez <mattfriez@hotmail.com>                                                                   Thu, Jan 27,2022 at 8:26 PM
To: Dana Eilis <dellis@midlandchristianschool.org>, Tara Friez <tarafriez@hotmail.com>

 Thank you for the discussion. As I said, my son is terrified that he will end up getting assaulted or threatened if kids find
 out that I reported it but I told him l am legally obligated.

  I also encourage you to consider recusing yourself from the situation if you believe you have a conflict of interest. I do not
 want anyone to be unfairly in trouble but if my son did what is alleged I would want full accountability so he could learn his
 lesson. Baseball culture is notorious for being "alpha male" but those older kids need to be strong and courageous and
 protect and mentor the younger ones. This is abusive, toxic and possibly criminal culture currently and it must end.
   Allowing it to continue will result in more abuse and possible assault and will inevitably lead to bigger trouble in the future
 for these kids and their future families.




                                                   Exhibit 6-016
Matt Friez <mattfriez@hotmail.com>                                                       Tue, Feb 1,2022 at 1:04 PM
To: Dana Ellis <dellis@midlandchristianschool.org>. Tara Friez <tarafriez@hotmaH.com>

  we would like a meeting with you and Coach Russell; Mr. Lee also if possible. A couple other parents also
  want to join in.

 Besides what appearsjo                                           of the locker room incident-that is likely a
 sexual assault, or at least believed to be by many 9th graders, our son was threatened after practice with
 sexual assault on Thursday night. I informed both you and Mr. Lee of this last Thursday and it has not been
 addressed for some reason. He is out sick today but is very disturbed/traumatized and unhappy. Baseball
 is usually by far his favorite activity but he does not want to go.

 Thanks, Matt Friez




                                                 Exhibit 6-017
Dana Ellis <dellis@midlandchristianschool.org>                                               Tue, Feb 1, 2022 at 2:45 PM
To: Geta Mitchell <gmitchell@midlandchristianschool.org>, Jared Lee <jlee@midlandchristianschool.org>, Matt Friez
<mattfriez@hotmail.com>

 Mr. Friez
 I spoke with Mr. Lee and in order to stay true to our policies and practices you will need to first speak with Coach Russell,
 then Coach McClendon (Athletic Director) about your concerns. If you feel that your concerns have not been addressed
 at that time you can then request a meeting with Mr. Lee. Also in alignment with our policies and practices we do not
 have meetings with parents as a group. We like the opportunity to meet with each family separately so we can hear what
 is going on specifically with your child and address their needs.

  In regards to the threatening claims that you are referring to, it has been addressed several times with the team at
 practice sinoo wo woro notifiod. I asked you when you brought It to my attention about bringing^^^| down to discuss it
 with him and you said not to because "you did not want him to be singled out" so we handled the situation the best we
 could with the information that we had in respect of your wishes. I am sorry to hear that m is so unhappy and hope
 we are able to help him work through this.
 [Quoted text hidden]


 Have a blessed day,

 Dana Ellis
 Midland Christian School
 Secondary Principal
 432-694-1661




                                                  Exhibit 6-018
